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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


SAUL HOROWITZ, as Sellers’
Representative,

                               Plaintiff,
                        v.
                                            Civ. No. 17-CV-7742 (JPO)
NATIONAL GAS & ELECTRIC, LLC and
SPARK ENERGY, INC.,

                              Defendants.




                  PLAINTIFF’S PRE-TRIAL MEMORANDUM OF LAW



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       Plaintiff Saul Horowitz, as Sellers’ Representative,1 by and through his undersigned

counsel, respectfully submits this Pre-Trial Memorandum of Law seeking a judgment as a matter

of law on (i) Plaintiff’s claim against Defendant National Gas & Electric LLC (“NGE”) for

breach of Section 11.7 of the Membership Interest Purchase Agreement (“MIPA”) and recovery

of rescissory damages; (ii) Plaintiff’s claim against Defendant Spark Energy, Inc. (“Spark”) for

tortious interference of contract in connection with NGE’s breach of Section 11.7 of the MIPA

and recovery of damages, including punitive damages; (iii) Plaintiff’s claim against NGE and

Spark for breach of Section 2.2 of the MIPA and Earnout Agreement and recovery of

compensatory damages; and (iv) Plaintiff’s right to reimbursement of all the reasonable

attorneys’ fees and expenses he and the other Sellers have incurred in this litigation pursuant to

Section 3.7 of the Earnout Agreement and to an award of statutory pre-judgment interest.

       At the case management conference in May 2019, the Court encouraged the parties to

include all legal and contractual interpretation issues they believe can and should be decided pre-

trial in their respective “big -- hopefully not too big” pre-trial memoranda so that the Court can

decide “all the legal issues [it] can . . . before the bench trial.”       See May 8, 2019 Case

Management Conference Tr. 34:1-35:16. To this end, the Court also instructed Plaintiff to “lift

everything” from his previously submitted Motion for Partial Summary Judgment2 (which the

Court denied without prejudice to renew before trial) and include it in the Pre-Trial

Memorandum. Id.; see also Nov. 12, 2019 Case Management Conference Tr. 8:22-9:22.

       Plaintiff has followed this instruction in this Pre-Trial Memorandum. Plaintiff recognizes

that this Pre-Trial Memorandum is not short, but he is moving for a pre-trial ruling on all the
1
  The Sellers are the former owners of the membership interest in Major Energy Services, LLC, Major
Energy Electric Services, LLC, and Respond Power, LLC (collectively, “Major Energy”), and include
Plaintiff, Mark Wiederman, Asher Fried, Mark Josefovic, and Michael Bauman.
2 See ECF Nos. 52, 76. Of note, the briefing on Plaintiff’s Motion for Partial Summary Judgment alone
was more than 30 pages, inclusive of the reply brief.
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legal and contractual-interpretation issues he believes can and should be decided in his favor pre-

trial and there is no opportunity for a reply brief. Thus, Plaintiff must address in this Pre-Trial

Memorandum both his affirmative arguments and responses to the arguments Defendants are

likely to raise in their opposition. Plaintiff submits that pre-trial resolution of these legal and

contractual interpretation issues will significantly streamline the upcoming bench trial.

                                         INTRODUCTION

          Plaintiff filed his initial Complaint in the United States District Court for the Southern

District of New York on October 10, 2017 and filed his Amended Complaint on December 11,

2017. See ECF Nos. 1, 22. The Amended Complaint asserts four causes of action: (i) fraudulent

inducement against NGE (Count I); (ii) breach of contract against NGE (Count II); (iii) breach of

contract against Spark (Count III); and (iv) tortious interference with contract against Spark

(Count IV). In connection with these claims, Plaintiff seeks rescissory damages, compensatory

damages, punitive damages, and reimbursement of all legal fees and costs.

          On January 15, 2018, Defendants moved to dismiss the fraudulent inducement and

tortious interference claims, as well as Plaintiff’s request for punitive damages. See ECF No. 27.

On September 24, 2018, the Court granted Defendants’ motion to dismiss the fraudulent

inducement claim but denied Defendants’ motion to dismiss Plaintiff’s tortious interference

claim and Plaintiff’s request for punitive damages. See ECF No. 42.

          This action concerns Defendants’ breaches of agreements entered into with the Sellers in

March and April 2016,3 as part of NGE’s acquisition of Major Energy from the Sellers, and

Spark’s tortious and bad faith conduct in connection with certain of those breaches of contract.

At the time of NGE’s acquisition, Major Energy was a privately held natural gas and electricity

supplier operating in several deregulated markets in the Northeast and Midwest. NGE was also a

3   These agreements include a MIPA, an Earnout Agreement, and an Executive Earnout Agreement.


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privately held company that held itself out as

                The total indicative purchase price for this transaction was $80 million—$35

million of which was to be paid in the form of Earnout Payments and Cash Installments (the

“Contingent Payments”) over a period of 33 months (i.e., until December 31, 2018) (the

“Earnout Period”) dependent upon Major Energy’s satisfaction of certain agreed-upon

performance targets.

       More specifically, in Count II of the Amended Complaint, Plaintiff asserts that NGE

breached the unambiguous non-assignment provision contained in Section 11.7 of the MIPA by

assigning or otherwise transferring the Major Energy membership interest it acquired from the

Sellers and all of its rights and obligations under the MIPA to Spark or one of its controlled

subsidiaries, Spark HoldCo, LLC (“Spark HoldCo”), without obtaining the required prior written

consent of the Sellers. Plaintiff further asserts that, under the unambiguous terms of Section 11.7

this transaction is void. But because voiding or rescinding this transaction at this point in time is

no longer practical, the Court is permitted under New York law to award Plaintiff an alternative

remedy of rescissory damages.4

       In connection with this breach claim, and in Count IV of the Amended Complaint,

Plaintiff asserts that Spark is liable for tortious interference with contract because it knowingly

and actively participated in NGE’s breach of the non-assignment provision in the MIPA. Indeed,

Spark worked in concert with NGE to complete the assignment transaction, all while knowing

(and acknowledging) that the Sellers’ prior written consent was required, but not obtained.

Spark and NGE even manipulated their assignment transaction documents in a futile effort to

circumvent the express written consent requirement of the MIPA. And contrary to Spark’s


4 As demonstrated below, Plaintiff’s expert has valued rescissory damages related to Defendants’ breach
at no less than $9.8 million. Such valuation is not credibly disputed by Defendants.


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contention, the exculpatory or limitation of liability provisions in the MIPA do not bar Plaintiff

from suing Spark for engaging in tortious and bad faith behavior and recovering punitive

damages. New York law and public policy forbids enforcement of exculpatory or limitation of

liability provisions to insulate a party’s willful, reckless or even grossly negligent conduct.

        Plaintiff also asserts, in Counts II and III of the Amended Complaint, that NGE and/or

Spark (dependent upon which entity is obligated under the agreements post-assignment)

breached Section 2.2 of the MIPA and Section 2.2 of the Earnout Agreement by improperly

calculating the Contingent Payment amounts due and owed to the Sellers during the Earnout

Period. These calculation errors have led to an underpayment to the Sellers of more than $4.8

million for 2016 and more than $1.5 million for the 2017 and 2018 period, combined.5

        In Counts II and III, Plaintiff further asserts that NGE and/or Spark (dependent upon

which entity is obligated under the agreements post-assignment) breached Section 2.7 of the

Earnout Agreement and Executive Earnout Agreement by, among other things, failing to comply

with their express “good faith and fair dealing” obligation and allowing the Major Energy Senior

Management Team to operate Major Energy “in all material respects” throughout the Earnout

Period, “consistently with how the Senior Management Team operated [Major Energy] before

the Closing and/or how the Senior Management Team suggests operating the Companies going

forward to adapt to new opportunities.” Plaintiff contends that Defendants’ misconduct and

breaches of Section 2.7 of the Earnout Agreement and Executive Earnout Agreement prevented

the Sellers from achieving the full $35 million Contingent Payment during the Earnout Period.

Indeed, the Sellers received only about 25% ($9 million) of the $35 million Contingent Payment

because of Defendants’ misconduct.

5 For purposes of this Pre-Trial Memorandum, Plaintiff is seeking a judgment with respect to only certain
of the calculation errors relating to the 2016-2018 Contingent Payments. The remainder will be pursued
by Plaintiff at trial.


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        In this Pre-Trial Memorandum, Plaintiff moves for a pre-trial judgment as a matter of law

on certain of his remaining claims, specifically his claims for: (i) breach of Section 11.7 of the

MIPA against NGE and recovery of rescissory damages in the amount of at least $9.8 million

(Count II); (ii) tortious interference with a contract against Spark with respect to NGE’s breach

of Section 11.7 of the MIPA and recovery of compensatory and punitive damages (Count IV);

and (iii) breach of Section 2.2 of the MIPA and Earnout Agreement against both NGE and Spark

with respect to certain miscalculations they made with respect to the 2016-2018 Contingent

Payment amounts6 and pre-trial recovery of a minimum of $2.1 million to as much as $4.4

million in underpayments of such Contingent Payments (Counts II and III).7 As demonstrated

below, and supported by the evidentiary record and New York law, there are no genuine disputed

issues of fact with respect to these claims and Plaintiff is entitled to judgment as a matter of law.

        Plaintiff also moves for pre-trial judgment on his contractual right to reimbursement of

all the legal fees and expenses he and the other Sellers incurred in connection with this litigation

and in pursuit of Contingent Payment funds owed to Plaintiff, and his right to an award of

statutory pre-judgment interest.

                                            ARGUMENT

        Plaintiff Is Entitled To Pre-Trial Judgment On His Claim Against NGE For Breach
        Of The Unambiguous Non-Assignment Provision Contained In Section 11.7 Of The
        MIPA And His Entitlement To An Award Of Rescissory Damages (Count I)

        To establish a breach of contract claim, a plaintiff must prove the following: (1) the

existence of an enforceable agreement; (2) performance by plaintiff; (3) the defendant breached

the agreement; and, (4) the plaintiff sustained damages as a result of the defendant’s

6 Certain of the alleged miscalculations for the 2016-2018 Contingent Payments involve disputed issues
of fact and, therefore, will be addressed and established by Plaintiff at trial.
7 Plaintiff is not moving for pre-trial judgment on his claim against NGE and Spark for breach of Section
2.7 of the Earnout Agreement and Executive Earnout agreement, but is confident that the trial record will
support a ruling in his favor on this claim and sustained damages in the amount of at least $26 million.


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breach. Sekisui Am. Corp. v. Hart, 15 F. Supp. 3d 359, 378 (S.D.N.Y. 2014). Judgment pre-trial

is appropriate when “there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317,

322-23 (1986). “There is no genuine issue of material fact where the record taken as a whole

could not lead a rational trier of fact to find for the nonmoving party.” Fabrikant v. French, 691

F.3d 193, 205 (2d Cir. 2012) (internal quotation marks and citation omitted).

        As demonstrated below, Plaintiff has met his burden and established that there is no

genuine issue of material fact with respect to all the elements of his claim against NGE for

breach of the unambiguous non-assignment provision contained in Section 11.7 of the MIPA.

Specifically, there is no dispute that the MIPA is a binding and enforceable agreement between

the Sellers and NGE. Moreover, it cannot be genuinely disputed that Plaintiff and the other

Sellers performed their obligation under the MIPA to transfer their 100% membership interest in

Major Energy to NGE at closing and that NGE did not claim any breach of the MIPA by Plaintiff

or the other Sellers prior to NGE’s alleged breach of Section 11.7 of the MIPA or even prior to

the filing of this lawsuit.8 As for the last two elements, the evidentiary record conclusively

establishes NGE’s breach of the unambiguous terms of Section 11.7 of the MIPA and Plaintiff’s

damages. See Sections I.A-I.D, infra.

        While Defendants have asserted various defenses to this breach claim, as demonstrated

below, each of these defenses fails as a matter of law. In fact, several of the defenses rely on

impermissible parol evidence. See Section I.E, infra. Accordingly, this Court should grant pre-

trial judgment in favor of Plaintiff on his claim against NGE for breach of Section 11.7 of the

MIPA and award Plaintiff rescissory damages in an amount no less than $9.8 million.

8 In fact, nowhere in their Amended Answer to the Amended Complaint do Defendants allege that
Plaintiff’s breach of contract claim fails because Plaintiff and the other Sellers engaged in a prior breach
of the MIPA. See First Amended Answer (ECF No. 117).


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       A.      Section 11.7 Of The MIPA Is Unambiguous And Expressly Prohibits NGE
               From Assigning The MIPA And All Rights And Obligations Thereunder To
               Anyone Without The Prior Written Consent Of The Sellers

       The record is clear that the MIPA was the first agreement executed between the Sellers

and NGE—executed on March 18, 2016—and is the only agreement between the parties that

controlled the sale of the Sellers’ collective 100% membership interest in Major Energy to

NGE.9 In the “RECITALS” to the MIPA, it states that the Sellers own all the outstanding

membership interest in Major Energy and that the “Sellers desire to sell to Buyer, and Buyer

desires to purchase from the Sellers” all of their membership interest in Major Energy “upon the

terms and conditions hereinafter set forth.”10

       NGE is the only entity identified as the “Buyer” under the MIPA.11 Similar to Major

Energy, NGE was a private limited liability company at the time of sale. Indeed, in the MIPA,

NGE represented and warranted that it was a limited liability company.12

       In Section 6.3 of the MIPA, NGE represented and warranted that it was “acquiring the

[membership interest] solely for its own account for investment purposes and not with a view to,

or for the offer or sale in connection with, any distribution thereof.”13 Consistent with the

foregoing, the MIPA contains a strict and unambiguous non-assignment provision. Specifically,

in Section 11.7 of the MIPA, captioned “Binding Effect; Assignment,” the parties agreed that:

       This Agreement shall be binding upon and inure to the benefit of the Parties
       and their respective successors and permitted assigns. No assignment of this
       Agreement or of any rights or obligations hereunder may be made by any
       Company, any Seller or Buyer, directly or indirectly . . ., without the prior



9 The MIPA also is the only agreement that controlled the nature and terms of the up to $15 million NGE
could be obligated to pay the Sellers in Cash Installment payments.
10 PX-632 (SPRK-NGE0044751-821) at 1.
11 Id. at § 6.1.
12 Id.
13 Id. at § 6.3 (emphases added).



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         written consent of the other Parties and any attempted assignment without the
         required consents shall be void.14

The foregoing language constitutes a clear and straightforward bar to assignment of the MIPA or

“any” rights or obligations thereunder by NGE without the prior “written consent” of the Sellers.

Section 11.7 does not contain a carve-out or exception for an assignment to an affiliated entity of

NGE. In fact, it does not contain a carve-out or exception for an assignment to any third party.

Section 11.7 also does not contain any reference to some other provision or agreement that may

contain a lesser non-assignment restriction.

         The MIPA is governed by New York law.15 “Under New York law, a written contract is

to be interpreted so as to give effect to the intention of the parties as expressed in the unequivocal

language they have employed.” Cruden v. Bank of N.Y., 957 F.2d 961, 976 (2d Cir. 1992). “The

best evidence of what parties to a written agreement intend is what they say in their

writing.” Greenfield v. Philles Records, Inc., 98 N.Y.2d 562, 569 (N.Y. 2002) (emphasis

added). Thus, “courts may not by construction add or excise terms, nor distort the meaning of

those used and thereby make a new contract for the parties under the guise of interpreting the

writing.” Law Debenture Trust Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 468 (2d Cir.

2010).     Moreover, extrinsic evidence of the parties’ intent “is not admissible to create an

ambiguity in a written agreement which is complete and clear and unambiguous upon its face.”

W.W.W. Assoc., Inc. v. Giancontieri, 77 N.Y.2d 157, 163 (N.Y. 1990) (emphasis added); see also

Omni Quartz v. CVS Corp., 287 F.3d 61, 64 (2d Cir. 2002) (“It is well established that a court

may not admit extrinsic evidence in order to determine the meaning of an unambiguous




14   Id. at § 11.7 (emphases added).
15   PX-632 (SPRK-NGE0044751-821) at § 11.3.


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contract.”). Extrinsic evidence is also inadmissible where, as here, the agreement contains a

merger clause.16

       These well-settled rules of contract construction apply with equal force in interpreting

and enforcing an unambiguous anti-assignment provision. See, e.g., Holland Loader Co. v.

FLSmidth A/S, 313 F. Supp. 3d 447, 467 (S.D.N.Y. 2018); Bank Brussels Lambert v. Credit

Lyonnais (Suisse) S.A., No. 93 CIV. 6876 LMM, 2000 WL 1876915, at *2 (S.D.N.Y. Dec. 22,

2000) (holding that oral consent to assignment of rights under a contract that requires prior

written consent is void). Judge Wood’s decision in Holland Loader is particularly noteworthy.

In that case, which also involved an earnout, the court addressed the interpretation of an anti-

assignment provision. Defendant argued that the assignment clause must have contained a

scrivener’s error because it would be nonsensical that the parties would have intended to require

consent for an assignment to an affiliate, but not a non-affiliate. In support, defendant submitted

redline versions of the agreement from its drafting stage. Id. The court, however, rejected

defendant’s argument and attempt to introduce any extrinsic evidence: “While the clause allows

for assignment or delegation to a non-affiliate without prior written consent, and this may indeed

be nonsensical in light of the requirement of consent for an assignment or delegation to an

affiliate, the unusual language does not render the provision ambiguous.” Id. (emphasis added).

       Here, there is no scrivener’s error or unusual language in Section 11.7 of the MIPA. The

non-consensual assignment bar in Section 11.7 of the MIPA is clear and applies the prior written

consent requirement to all third parties, affiliate or non-affiliate. Thus, as in Holland Loader,




16 See id. § 11.4 (“This Agreement . . . and the other Transaction Documents represent the entire
understanding and agreement among the Parties with respect to the subject matter hereof and thereof.”);
see also Abha Int’l, LLC v. Clover Int’l Corp., No. 11 Civ. 6841, 2012 WL 569187, at *3 (S.D.N.Y. Feb.
16, 2012).


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Section 11.7 of the MIPA must be construed as written and the introduction of extrinsic evidence

should be barred.

        B.      The Evidentiary Record Conclusively Establishes That NGE Breached
                Section 11.7 Of The MIPA

        NGE’s breach of the unambiguous non-assignment provision in the MIPA cannot be

genuinely disputed.       Indeed, NGE’s breach is confirmed by NGE’s own statements and

documents and the terms of the various agreements NGE executed in connection with the

challenged transaction.

        On August 23, 2016, just months after closing the transaction with the Sellers, NGE sold,

assigned, or otherwise transferred all of its rights and obligations under the MIPA, including the

Major Energy membership interest it acquired from the Sellers, to Spark and/or Spark HoldCo, a

Spark-controlled subsidiary (the “Dropdown”). This fact is undisputed. Indeed, on August 23,

2016, Spark issued a press release in which it told the public the following:              “Spark

Energy, Inc. . . announced today that the Company [Spark Energy] has completed its acquisition

of the Major Companies.”17 Additionally, Keith Maxwell, the owner of NGE and Chairman of

the Board of Spark,



        In connection with the Dropdown transaction, NGE entered into a Membership Interest

Purchase Agreement with Spark and Spark HoldCo (“the Spark MIPA”).19 The Spark MIPA is

dated May 3, 2016, mere weeks after NGE closed its transaction with the Sellers. In the Spark

MIPA, Spark HoldCo is identified as the “Buyer” and Spark is identified as the parent of the




17 Of note, there is no mention of Spark HoldCo in that Spark press release.
18 See Maxwell Deposition Transcript at 5:8-6:2.
19 See PX-650 (SPRK-NGE0050380-50444).



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       To this end, under Section 1 of the Omnibus Assignment and Assumption Agreement,

NGE agreed




                                                                 Thus, the plain terms of the Spark

MIPA and associated Omnibus Assignment and Assumption Agreement conclusively establish

that NGE sold, assigned, or otherwise transferred all of its membership interest in Major Energy

and all of its rights and obligations under the MIPA to another entity.

       Importantly, under Section 3.2(a)(ix) of the Spark MIPA, NGE required Spark HoldCo to

obtain and provide “the written consent of the Prior Sellers’ Representative to the Assignment”

prior to closing the Dropdown.29 Likewise, Section 11.1 of the Spark MIPA explicitly provides:

       For purposes of this Agreement, Seller has advised Buyer that: (i) notices of
       certain matters arising under the Prior Purchase Agreement must be provided to
       Saul Horowitz, as Prior Sellers’ Representative; (ii) the prior written consent of
       said Prior Sellers’ Representative is required for the assignment of certain
       Transaction Agreements . . . ; and (iii) Seller will assume responsibility for
       providing any such notices to, and securing any such consents of, Prior Sellers’
       Representative as necessary under such Prior Purchase Agreement and of the
       Escrow Agent under the Escrow Agreement to facilitate and effectuate the
       Transaction contemplated hereunder.30




27 Id. at § 1.
28 Id. at § 2.
29 PX-650 (SPRK-NGE0050380-50444) at § 3.2(a)(ix).
30 PX-650 (SPRK-NGE0050380-50444) at § 11.1 (emphases added).



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         Thus,




         Indeed, the evidentiary record is devoid of a single document showing Plaintiff’s or the

other Sellers’ prior written consent to the Dropdown. And in its Answer to the Amended

Complaint, NGE admits that “Plaintiff objected to NGE’s contemplated drop-down of Major

Energy into Spark,” but, yet, “in or around August 2016 NGE completed a drop down of Major

Energy into Spark,” in violation of Section 11.7 of the MIPA.33 Thus, NGE’s breach of the

unambiguous anti-assignment provision in Section 11.7 is clear as a matter of law and fact.

         C.      Consistent With The Unambiguous Terms Of Section 11.7 Of The MIPA,
                 NGE’s Sale And Assignment Transaction Is Void

         New York law provides that assignments “made in contravention of a prohibition clause

in a contract are void if the contract contains clear, definite and appropriate language declaring

the invalidity of such assignments.” LCE Lux HoldCo S.a.r.l. v. Entretenimiento GM de Mexico

S.A. de C.V., 287 F.R.D. 230, 235 (S.D.N.Y. 2012) (quoting Macklowe v. 42nd St. Dev. Corp.,

566 N.Y.S.2d 606, 606 (1st Dep’t 1991)). New York courts have voided assignments where the

contract contains clear language prohibiting assignment. See Allhusen v. Caristo Const. Corp.,

303 N.Y. 446, 452 (N.Y. 1952) (voiding an assignment where the non-assignment clause stated

that “assignment by the second party . . . without the written consent of the first party shall be

void”); see also Bank Brussels Lambert, 2000 WL 1876915, at *2.

         As described above, the anti-assignment clause in Section 11.7 of the MIPA

unequivocally provides that any assignment by NGE of the MIPA and any rights and obligations


33   See ECF No. 117 (Amended Answer) ¶ 70.


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thereunder to any third party without obtaining the prior written consent of the Sellers “shall be

void.”34 Thus, in accordance with well-settled New York precedent and the express language of

Section 11.7, NGE’s assignment of the MIPA and its rights and obligations thereunder without

the prior written consent of the Sellers is void.

         D.     Rescissory Damages Is An Appropriate Remedy For A Void Transaction
                Where Rescission Itself Is Not Feasible

         Rescission is the usual remedy for a void assignment. See Richard A. Hutchens CC,

L.L.C. v. State, 59 A.D.3d 766, 771, 872 N.Y.S.2d 734, 739 (2009) (finding rescission was

remedy for breach of anti-assignment provision that declared assignment without consent to be

void). However, where rescission is not practicable, rescissory damages may be awarded. See

MBIA Ins. Corp. v Countrywide Home Loans, Inc., 34 Misc. 3d 895 (N.Y. Sup. Ct. 2012)

(“Rescissory damages are designed to be the economic equivalent of rescission in a circumstance

in which rescission is warranted, but not practicable. A solid body of case law so holds.”)

(emphasis added); Syncora Guarantee Inc. v. Countrywide Home Loans, Inc., 935 N.Y.S.2d 858,

869 (N.Y. Sup. Ct. 2012) (same).

         Rescissory damages “restore a plaintiff to the position occupied before the defendant’s

wrongful acts.” St. Clair Shores Gen. Empls. Ret. Sys. v. Eibeler, 745 F. Supp. 2d 303, 315

(S.D.N.Y. 2010); Liberty Media Corp. v. Vivendi Universal, 874 F. Supp. 2d 169 (S.D.N.Y.

2012) (“The purpose of rescissory damages is to restore the plaintiff to the position it would have

occupied had the transaction not occurred.”); see also Yu v. GSM Nation, LLC, No. CV N17C-

07-200 JRJ, 2018 WL 2272708, at *17 (Del. Super. Ct. Apr. 24, 2018) (rescissory damages

remedy is premised upon the idea that “the nature of the wrong perpetrated is such that plaintiff

is entitled to more than his ‘out-of-pocket’ harm, as measured by the market value of the asset at


34   PX-632 (SPRK-NGE0044751-821) at § 11.7.


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or around the time of the wrong.”). Because rescission of the Dropdown is no longer practical,

rescissory damages is an appropriate and warranted remedy.

          Rescissory damages in this context should restore the Sellers to their status as of the

breach date, August 23, 2016. As of that date, the Sellers had the right and should have had the

opportunity to earn their full $35 million Contingent Payment with NGE as the owner and

operator of Major Energy, not the public entity Spark. Indeed, this was a bargained-for right of

the Sellers as evident from the express terms in Sections 6.3 and 11.7 of the MIPA. However,

because of NGE’s misconduct in completing the Dropdown without the prior written consent of

the Sellers, that did not turn out to be the case from August 23, 2016 through December 31,

2018—the overwhelming majority of the Earnout Period (28 months of the 33-month Earnout

Period). The Sellers should not be penalized for NGE’s breach that prevented them from having

this bargained-for right and opportunity.

          In light of the foregoing and consistent with how courts have approached valuing

rescissory damages, as detailed above, Plaintiff submits that an appropriate way to restore the

Sellers to their pre-breach status (as rescissory damages are meant to do), is to allow them to

recover the benefit of their bargain with NGE per the terms of the MIPA, i.e., the difference

between the fair market value of the $35 million Contingent Payment as of the breach date and

the Contingent Payment amount they ultimately received. To this end, Plaintiff has retained a

qualified and experienced damages expert, David M. Leathers, who has assessed the fair market

value of the $35 million Contingent Payment as of the date of the breach (i.e., August 23, 2016)

at no less than $18.8 million. Mr. Leathers’ analysis is detailed in his sworn witness statement

dated December 13, 2019, as well as his Expert Report submitted in this matter.35



35   See ECF No. 155 at ¶ 460; PX-753.


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numerous drafts exchanged between the parties during this period.41 It was NGE’s obligation

and responsibility to read the contract before executing and they must live with all the terms of

the MIPA they freely negotiated and executed.         Notably,




       Additionally, the MIPA is not the only transaction document containing an absolute non-

assignment bar, even to affiliated entities. Two other agreements drafted and executed by the

parties in connection with the transaction contain non-assignment language that is nearly

identical to Section 11.7—the Escrow Agreement and Escrow Disbursement Agreement.43

Thus, NGE’s purported “oversight” defense rings hollow.

               2)      The Assignment Provision In The Earnout Agreement Is Irrelevant

       NGE next asserts that Section 3.1 of the Earnout Agreement permits a non-consensual

assignment to Affiliates and that provision should somehow control the question of whether

NGE’s sale and assignment of the Major Energy membership interest and the rights and

obligations under the MIPA to Spark and Spark HoldCo required the prior written consent of the

Sellers.44 While it is true that the Earnout Agreement has a separate anti-assignment clause

allowing for the Earnout Agreement to be assigned to Affiliates without the prior written consent

of the Sellers, that provision has nothing to do with an assignment of the MIPA or the rights and

obligations thereunder. Plaintiff’s claim here is specific to breach of the assignment clause in the

MIPA, not the Earnout Agreement.


41 See, e.g., DX-229 (CDP00003505-3793), DX-261 (MESELLERS_0005365)
42 DX-229 (CDP00003505-3793), at CDP00003577.
43 PX-633 (SPRK-NGE0044884-99) § 7.10; PX-657 (SPRK-NGE0050570-80) § 4.8.
44 Lancaster Witness Statement (ECF No. 159) ¶¶ 94, 96.



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       Indeed, Section 3.1 of the Earnout Agreement makes clear that said provision relates only

to an assignment of the Earnout Agreement, not any other agreement: “This Agreement [the

Earnout Agreement] shall not be assignable by either Party without the prior written consent of

the other Parties, except as to Affiliates . . . .”45 At the same time, the separate anti-assignment

provision in Section 11.7 of the MIPA makes clear that its restriction applies strictly to the

MIPA: “No assignment of this Agreement [the MIPA] or of any of the rights or obligations

hereunder . . . .”46 Thus, there is no conflict between these two agreements and the anti-

assignment provisions in each stand alone and govern only their respective agreements.

       Equally without merit is NGE’s unsupported contention that the Earnout Agreement

should be viewed as the main transaction agreement. The main transaction agreement is the

MIPA, which was the first agreement executed by the parties. The MIPA is the only agreement

that controlled the actual sale of Major Energy to NGE and the only agreement that dictated the

execution of the other transaction agreements, such as the Earnout Agreement.

       The MIPA, in fact, incorporates the Earnout Agreement (and Executive Earnout

Agreement, and Escrow Agreements), not the other way around.47 And it is the other transaction

documents, such as the Earnout Agreement (and Executive Earnout Agreement, and Escrow

Agreements), that repeatedly reference the MIPA. For example, the WHEREAS clauses of the

Earnout Agreement state that the Earnout Agreement is one of the agreements “contemplated” in

the MIPA.48 In other words, without the MIPA, there is no Earnout Agreement. Thus, NGE’s



45 PX-634 (SPRK-NGE0044911-28) at § 3.1 (emphasis added).
46 PX-632 (SPRK-NGE0044751-821) at § 11.7 (emphasis added). Even Mr. Lancaster agrees that
Section 11.7 of the MIPA “does not apply to the Earnout Agreement or Executive Earnout Agreement.”
Lancaster Witness Statement (ECF No. 159) ¶ 93.
47 PX-632 (SPRK-NGE0044751-821) at § 1.2.
48 PX-634 (SPRK-NGE0044911-28); see also PX-633 (SPRK-NGE0044884-99); PX-657 (SPRK-
NGE0050570-80).


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contention that the Earnout Agreement should be viewed as the main or controlling document

here is baseless.

        Moreover, NGE’s argument is entirely contrary to well-settled New York rules of

contract interpretation that require a court to give effect to the written terms of a contract and

“not accept an interpretation that ignores the interplay of the terms, renders certain terms

‘inoperable,’ and creates a conflict where one need not exist.” Net2Globe Int’l, Inc. v. Time

Warner Telecom of N.Y., 273 F. Supp. 2d 436, 445 (S.D.N.Y. 2003). New York courts also are

“extremely reluctant to interpret an agreement as impliedly stating something which the parties

have neglected to specifically include,” especially an agreement negotiated at arms-length by

sophisticated parties and with the assistance of counsel. Ashwood Capital, Inc. v. OTG Mgt.,

Inc., 99 A.D.3d 1, 7 (1st Dep’t 2012) (citation and internal quotation marks omitted).

        NGE’s argument also flies in the face of their own internal documents and agreements, as

described above, in which they acknowledge that Section 11.7 prohibits the assignment of the

MIPA (and other related agreements NGE entered into with the Sellers) without the Sellers’ prior

written consent.49 If NGE truly believed that the prior written consent of the Sellers was not

required for the Dropdown transaction then it presumably would not have made obtaining and

providing such consent a pre-condition to the closing of the Dropdown.

        Recognizing the obvious legal flaw with their argument, NGE has relied on an email

dated May 1, 2016,




49 See PX-650 (SPRK-NGE0050380-50444) at §11.1 (“[NGE] has advised [Spark] that . . . the prior
written consent of . . . Sellers’ Representative is required for the assignment of certain Transaction
Agreements . . . .”); August 2016 Letter Agreement (stating that “the prior written consent of Saul
Horowitz, as Prior Seller’s Representative, is required for the assignment of certain agreements related to
the transaction contemplated by the [Spark] MIPA . . . and continuing obligations under the [MIPA]
between Major Sellers and NGE”).


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                                                                    To begin with, such extrinsic

evidence is not admissible given the clear and unambiguous terms of Section 11.7 of the MIPA.

See Holland Loader Co., 313 F. Supp. 3d at 467. In fact, at a prior status conference on this

matter, the Court itself recognized the limited probative value of this email and whether this

email would even be admissible to interpret an unambiguous contract provision. See Transcript

of May 8, 2019 Status Conference, at 30.

        But even if this email is admissible, NGE totally misconstrues the email and conveniently

ignores the uncontroverted sworn deposition testimony of Mr. Studnicky concerning the email.

At his deposition,




                                                   Thus, NGE’s reliance on the May 1, 2016 email

from Mr. Studnicky to Mr. Alper as a basis to undo the explicit language of Section 11.7 of the

MIPA is misguided.


50 See DX-298 (MESELLERS_0006400-02).
51 See Studnicky Deposition Transcript at 29:1-8; 30:4-15.
52 Id. at 31:11-18.
53 See PX-163 (MESELLERS_0010036).



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characterization of the Sellers’ purported acceptance of the Dropdown, Defendants are not

entitled to assert these equitable defenses as a matter of New York law.

       Specifically, New York law is clear that a party cannot assert a ratification defense as a

means of overcoming a claim for breach of a non-assignment provision that expressly declares

the assignment void. See 6A N.Y. Jur. 2d Assignments § 42 (2d ed. 2019) (“[A] void assignment

may not be subsequently ratified.”) (citing Knight v. Knight, 182 A.D.2d 342, 345 (3d Dep’t

1992)); 27 Williston on Contracts § 70:13 (4th ed. 2018) (“A void contract cannot be ratified; it

binds no one and is a nullity.”); see also Aronoff v. Albanese, 85 A.D.2d 3, 4 (2d Dep’t 1982).

Thus, consistent with New York law, NGE’s Dropdown to Spark and Spark HoldCo in violation

of Section 11.7 is a legal nullity and cannot be subsequently ratified.

       New York law also instructs that Defendants likewise cannot claim waiver, a legal theory

similar to ratification. See Banco De La Republica De Colom. v. Bank of N.Y. Mellon, No. 10-

cv-536, 2013 WL 3871419, at *10 n.7 (S.D.N.Y. July 26, 2013) (rejecting argument that “waiver

and ratification are different propositions”); see also Sardanis v. Sumitomo Corp., 282 A.D.2d

322, 324 (1st Dep’t 2001) (“equitable defenses are unavailable when the rights being pressed by

a party are based upon a void document”).

       Nor can Defendants establish their estoppel defense as a matter of applicable New York

law. “No estoppel may arise in any case where the party claiming the estoppel had no right to

change position.” 57 N.Y. Jur. 2d Estoppel, Ratification, and Waiver § 40 (2d ed. 2019); Sporre

S.A. de C.V. v. Int’l Paper Co., No. 99-cv-2638, 1999 WL 1277243, at *4-5 (S.D.N.Y. Dec. 30,

1999) (defendant who breached an anti-assignment clause requiring prior written consent could

not establish estoppel because defendant “brought the instant scenario upon itself”) (emphasis

added); Draper v. Georgia Props., 230 A.D.2d 455, 460 (1st Dep’t 1997) (equitable estoppel




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defense cannot be based on void provision of agreement). Defendants—with full knowledge of

the terms of Section 11.7 of the MIPA and the Sellers’ lack of consent to the Dropdown—had no

right to change their position and complete the Dropdown. Therefore, they cannot rely on an

estoppel defense.

         Additionally, Defendants’ ratification, waiver, and estoppel defenses are independently

precluded by the explicit and unambiguous no-waiver clause in Section 11.4 of the MIPA (the

“No-Waiver Clause”). The No-Waiver Clause states as follows:

         The waiver by any Party of a breach of any provision of this Agreement shall not
         operate as, or be construed as, a further or continuing waiver of such breach or as
         a waiver of any other or subsequent breach. No failure on the part of any Party
         to exercise, and no delay in exercising, any right, power or remedy hereunder
         shall operate as a waiver thereof, nor shall any single or partial exercise of such
         right, power or remedy by such Party preclude any other or further exercise
         thereof or the exercise of any other right, power or remedy.58

New York courts “uniformly” enforce no-waiver clauses such as the one contained in Section

11.4 of the MIPA and bar parties from asserting waiver and ratification defenses.               See

Awards.com, LLC v. Kinko’s, Inc., 42 A.D.3d 178, 188 (1st Dep’t 2007); Banco De La

Republica, 2013 WL 3871419, at *9-10; see also Park Irmat Drug Corp. v. Optumrx, Inc., 152

F. Supp. 3d 127, 137 (S.D.N.Y. 2016) (refusing to wade into factual dispute regarding

defendant’s purported waiver because the contract contained a no-waiver clause); MBIA Ins.

Corp. v. Patriarch Partners VIII, LLC, 842 F. Supp. 2d 682, 709 (S.D.N.Y. 2012) (“When a

contract contains a ‘no waiver’ clause . . . a non-breaching party can continue his contract instead

of terminating it based on breaches that previously occurred and yet not waive any of his rights

under the contract.”).

         Similarly, the No-Waiver Clause bars Defendants’ estoppel defense. Indeed, in Equator

International, the parties’ contract contained a no-waiver clause that is nearly identical to the

58   PX-632 (SPRK-NGE0044751-821) at § 11.4 (emphasis added).


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No-Waiver Clause in this case, stating that “[n]o failure on the part of the Lender to exercise, and

no delay in exercising, any right hereunder will operate as a waiver thereof; nor will any single

or partial exercise of any right hereunder preclude any other or further exercise thereof or the

exercise of any other right.” Equator Int’l, Inc. v. NH Street Investors, Inc., 978 N.Y.S.2d 817,

824 (N.Y. Sup. Ct. 2014). Noting that no-waiver clauses “have been routinely upheld as being

enforceable,” the court held that defendant failed to raise triable issues of fact with respect to its

estoppel defense, even though defendant alleged that plaintiff failed to act for more than five

years. Id. at 824-25. Thus, all of Defendants’ equitable defenses fail as a matter of law.

       Accordingly, based on all the foregoing, the Court should grant Plaintiff a pre-trial

judgment finding that NGE breached Section 11.7 of the MIPA through its completion of the

Dropdown transaction with Spark and/or Spark HoldCo without obtaining the required prior

written consent of the Sellers, and Plaintiff (and the other Sellers) are entitled to an award of

rescissory damages in the amount of at least $9.8 million.

       Plaintiff Is Entitled To Pre-Trial Judgment On His Claim Against Spark For
       Tortious Interference Of Contract With Respect To NGE’s Breach Of Section 11.7
       Of The MIPA And Recovery Of Punitive Damages (Count IV)

       In Count IV of the Amended Complaint, Plaintiff alleges that Spark is liable for tortious

interference with contract because it knowingly and actively participated in NGE’s breach of the

non-assignment provision in Section 11.7 of the MIPA. Indeed, Spark worked in concert with

NGE to complete the sale and assignment transaction, all while knowing (and acknowledging)

that the Sellers’ prior written consent was required, but not obtained.

       Under New York law, the elements of tortious interference with contract are “(a) that a

valid contract exists; (b) that a ‘third party’ had knowledge of the contract; (c) that the third party

intentionally and improperly procured the breach of the contract; and (d) that the breach resulted

in damage to the plaintiff.” Weizmann Inst. of Sci. v. Neschis, 229 F. Supp. 2d 234, 253


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(S.D.N.Y. 2002) (quoting Albert v. Loksen, 239 F.3d 256, 274 (2d Cir. 2001)). Plaintiff has met

its burden to establish that there is no genuine issue of material fact with respect to these

elements and, therefore, is entitled to a judgment as a matter of law on his tortious interference

claim against Spark. Fed. R. Civ. P. 56(a); Celotex, 477 U.S. at 322-23 (1986).

       First, there is no dispute that the MIPA is a valid contract. Second, there is no dispute

that Spark was fully aware of the MIPA and its terms at the time of the Dropdown transaction.

As evident from Defendants’ internal documents and agreements between themselves,

throughout the negotiation of the Dropdown transaction, Spark was fully aware of the terms of

the MIPA, including the prohibition of an assignment of the MIPA and NGE’s rights and

obligations thereunder without the Sellers’ prior written consent.59 And the Spark MIPA, to

which Spark was a party, explicitly required that Spark HoldCo obtain and provide the written

consent of Plaintiff at the closing of the Dropdown transaction.60 Spark was also aware at the

time the Dropdown transaction closed that the Sellers were unwilling to consent to the

Dropdown,                                            and Defendants’ Amended Answer.61

       Third, there is no dispute that NGE breached Section 11.7 of the MIPA as described

above, and the evidence is clear that Spark knowingly and improperly assisted NGE in this

breach. Spark’s tortious conduct is self-evident from the very terms of the August 2016 Letter

Agreement, which Spark signed. In that Letter Agreement, Spark and NGE acknowledged that

the prior written consent of Plaintiff was required for any Dropdown transaction and that the

Sellers’ Representative had not provided any such written consent.62 Nonetheless, Spark and



59 PX-652 (SPRK-NGE0050555-06); PX-650 (SPRK-NGE0050380-50444).
60 PX-650 (SPRK-NGE0050380-50444).
61 See ECF No. 117 ¶ 70 (“Plaintiff objected to NGE’s contemplated drop-down of Major Energy into
Spark,” but, yet, “in or around August 2016 NGE completed a drop down of Major Energy into Spark.”).
62 PX-652 (SPRK-NGE0050555-06).



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NGE proceeded with the Dropdown.




      Defendants’ bad faith conduct is also evident from the last-minute changes they made to

the Omnibus Assignment Assumption Agreement. The record is clear that,




                          This is the height of deception and bad faith conduct by Defendants.

      Lastly, Plaintiff and the Sellers have been damaged by Spark’s tortious behavior. As

noted above, as a result of Spark’s actions (and NGE’s), the Sellers were deprived of the



63 Id. (emphasis added).
64 PX-754 (MESELLERS_0002276-84) at MESELLERS_0002280.
65 Id. at MESELLERS_0002284.



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opportunity to earn the $35 million Contingent Payment with NGE, not Spark, as the owner and

operator of Major Energy. As Plaintiff’s damages expert determined, the fair market value of the

$35 million Contingent Payment as of the date of the void Dropdown was at least $18.8 million,

more than double the amount of Contingent Payments the Sellers ultimately received. The

Sellers should not be penalized for Spark’s willful misconduct and bad faith actions that

prevented the Sellers from pursuing their Contingent Payment opportunity in the manner they

expressly bargained for under the MIPA.

        The Sellers also are entitled to recover punitive damages from Spark, in an amount to be

set by the Court. Under New York law, “an injured party can recover punitive damages when

the tortious act complained of involved a wanton or reckless disregard of the plaintiff’s rights.”

Universal City Studios, Inc. v. Nintendo Co., 797 F.2d 70, 77 (2d Cir. 1986) (emphasis added).

Here, Spark’s willingness to complete the Dropdown without the Sellers’ written consent

“involved a wanton or reckless disregard of the [Sellers’] rights,” as demonstrated by the August

2016 Letter Agreement. Indeed, there can be no genuine dispute that Spark knew that Plaintiff

had a consent right, acknowledged that consent right, then ignored that consent right and

attempted to create an agreement with NGE to obtain all the benefits of the MIPA, as if there had

been no violation of that consent right. Put simply, this can only be described as wanton and

reckless disregard for Plaintiff’s rights.

        In the Amended Answer, Spark attempts to avoid liability for its tortious misconduct by

relying on purported exculpatory language in Section 7.14(c) of the MIPA. This defense lacks

merit. To begin with, when read in its entirety it is clear that this provision is meant to apply to

contract or tort claims involving a breach of a representation or warranty under the MIPA, not

for tortious interference with NGE’s contractual obligations under the contract. Indeed, the




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exculpatory language is contained in Article 7, entitled “Covenants,” and the particular

subsection is called “No Additional Representations and Warranties.”

         But more significantly, Spark cannot use the purported exculpatory language in Section

7.14(c) to avoid liability resulting from its willful, reckless, or at a minimum, grossly negligent

conduct, as described above. Indeed, New York courts and public policy forbid enforcement of

exculpation clauses where, as here, the defendant acted willfully, recklessly, or with gross

negligence. See Gold Connection Disc. Jewelers, Inc. v. Am. Dist. Tel. Co., 212 A.D.2d 577,

578 (2d Dep’t 1995) (“Although such clauses in commercial contracts are enforceable to limit

recovery for claims based on ordinary negligence, they will not preclude recovery in tort or

breach of contract where the losses are the result of gross negligence.”). As the New York Court

of Appeals has specifically instructed:

         [A]n exculpatory agreement . . . will not exonerate a party from liability under all
         circumstances . . . . [I]t will not apply to exemption of willful or grossly negligent
         acts . . . [or when] the misconduct for which it would grant immunity smacks of
         intentional wrongdoing. This can be explicit, as when it is fraudulent, malicious
         or prompted by the sinister intention of one acting in bad faith. Or when, as in
         gross negligence, it betokens a reckless indifference to the rights of others, it may
         be implicit.

Kalisch-Jarcho, Inc. v. City of New York, 58 N.Y.2d 377, 385 (N.Y. 1983).

         Equally without merit is Spark’s attempt to avoid punitive damages liability based on the

limitation of liability provision in Section 9.9 of the MIPA. That provision does not preclude

Plaintiff from seeking special damages, such as punitive damages, in connection with Spark’s

willful or, at a minimum, grossly negligent conduct, as described above.66 See Baidu, Inc. v.

Register.com, Inc., 760 F. Supp. 2d 312, 318 (S.D.N.Y. 2010) (“New York courts will decline to




66   PX-632 (SPRK-NGE0044751-821) at § 9.9.


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enforce a contractual limitation or waiver of liability clause when there is willful or grossly

negligent or recklessly indifferent conduct.”).

       Plaintiff Is Entitled To Pre-Trial Judgment On His Claim Against Defendants For
       Breach Of Section 2.2 Of The MIPA And Earnout Agreement For Miscalculation Of
       The 2016-2018 Contingent Payment Amounts (Counts II And III)

       In Count II of the Amended Complaint, Plaintiff alleges that NGE breached Section 2.2

of the MIPA and Earnout Agreement through the manner in which it calculated (or

miscalculated) the 2016 Contingent Payment amounts. In Count III of the Amended Complaint,

Plaintiff asserts a similar breach claim against Spark given that, after the Dropdown, Spark took

over the responsibility for calculating and paying the Contingent Payments, including the 2016

Contingent Payment. At the time of the filing of the Amended Complaint, Defendants had not

yet calculated the Contingent Payment amounts for 2017 and 2018; indeed, payment of such

Contingent Payments were not yet due. Since the filing, however, Defendants have calculated

the Contingent Payment amounts for 2017 and 2018 and Plaintiff has been able to determine

several calculation errors with respect to these amounts in further breach of Section 2.2 of the

MIPA and Earnout Agreement.

       As already noted, to establish a breach of contract claim, a plaintiff must prove the

following: (1) the existence of an enforceable agreement; (2) performance by plaintiff; (3) the

defendant breached the agreement; and, (4) the plaintiff sustained damages as a result of the

defendant’s breach. JP Morgan Chase v. J.H. Elec. of N.Y., Inc., 69 A.D.3d 802, 803 (2d Dept.

2010). The first two elements cannot be genuinely disputed. Indeed, nowhere in their Amended

Answer do Defendants’ seek to avoid liability for this breach claim based on a prior breach of

the MIPA or Earnout Agreement by Plaintiff or the other Sellers. As for the last two elements,

the evidentiary record confirms Defendants’ breach and Plaintiff’s damages.




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       Specifically, the evidentiary record shows that Defendants did not calculate the 2016

Contingent Payment consistent with the methodology and formula agreed to by the parties in the

MIPA and Earnout Agreement. To this end,

      i. Defendants did not calculate the 2016 Contingent Payment consistent with the
         methodology and formula that was agreed to by the parties and illustrated in Exhibit B
         to the Earnout Agreement;

     ii. Defendants wrongly excluded Major Energy’s first-quarter 2016 actual Adjusted
         EBITDA in calculating the 2016 Contingent Payment;

    iii. Defendants understated Major Energy’s Year-End Customer Accounts for 2016 by at
         least 9,134; and

    iv. Defendants also understated Major Energy’s actual Adjusted EBITDA for 2016 by at
        least $1.8 million due to their failure to credit Major Energy for various expenses
        incurred in 2016.

Adjusting for all these methodological and calculation errors, the Sellers have been underpaid by

at least $4.8 million for their 2016 Contingent Payment.

       Likewise, the evidentiary record shows that Defendants did not calculate the 2017 and

2018 Contingent Payment consistent with the methodology and formula agreed to by the parties

in Exhibit B to the Earnout Agreement. Defendants also understated Major Energy’s total

Adjusted EBITDA by at least $1 million for each of 2017 and 2018 due to their failure to credit

Major Energy for various expenses incurred in 2017 and 2018. Adjusting for these

methodological and calculation errors, the Sellers have been underpaid by at least $1.5 million

for their 2017 and 2018 Contingent Payments combined.

       For purposes of this Pre-Trial Memorandum, however, Plaintiff is only seeking a pre-trial

judgment with respect to certain of the methodological and calculation errors identified above.

Specifically, Plaintiff is seeking pre-trial resolution of the first three methodological and

calculation errors described above with respect to the 2016 Contingent Payment and resolution




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of the first methodological and calculation error described above with respect to the 2017 and

2018 Contingent Payment. As for the other methodological and calculation errors identified

above with respect to the 2016-2018 Contingent Payments (i.e., understating the Adjusted

EBITDA totals for 2016-2018), Plaintiff will address those errors at trial given the existence of

certain disputed facts.

          Importantly, the methodological and calculation errors Plaintiff addresses below establish

a significant underpayment by Defendants to the Sellers—more than $3.3 million with respect to

the 2016 Contingent Payment and more than $1.1 million with respect to the 2017 and 2018

Contingent Payments combined. And pursuant to Section 3.7 of the Earnout Agreement, such

underpayment by Defendants entitles Plaintiff and the other Sellers to reimbursement of all the

reasonable legal fees and expenses they incurred in connection with this action.67

          A.      Plaintiff Can Sue Spark For Breach Of The MIPA Or Earnout Agreement

          As an initial matter, Plaintiff can sue Spark for breach of the MIPA or Earnout

Agreement. In their Amended Answer filed on May 10, 2019, seven months after filing their

initial answer to the Amended Complaint, Defendants added a defense for lack of standing to sue

Spark for breach of contract, claiming that Spark “did not enter into a contract with Plaintiff and

did not accede to any contractual obligations as to Sellers regarding the MIPA, Earnout

Agreement, or Executive Earnout Agreement.” This defense lacks merit as a matter of law and

should be dismissed outright.

          To begin with, Defendants should be estopped from even asserting such a defense in light

of the admissions and sworn statements they made in their initial Answer, motion to dismiss

briefing, and deposition testimony. “It is axiomatic that ‘[a] party’s assertion of fact in a

pleading is a judicial admission by which it normally is bound throughout the course of the

67   See infra Section IV.


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Cos., 367 F. Supp. 3d 66, 71 (S.D.N.Y. 2019); see also Recticel Foam Corp. v. Bay Indus., 128

F. App’x 798, 799 (2d Cir. 2005) (“New York law provides that if a party objectively manifests

an intent to be bound by a contract, that intent controls, even if the party does not sign the written

agreement.”); Warnaco Inc. v. VF Corp., 844 F. Supp. 940, 946 (S.D.N.Y. 1994) (holding that

“[a] parent corporation may become a party to its subsidiary’s contract if the parent’s conduct

manifests an intent to be bound by the contract”). A manifest intent to be bound can be inferred

“from the parent’s participation in the negotiation of the contract, or if the subsidiary is a dummy

for the parent, or if the subsidiary is controlled by the parent for the parent’s own purposes.”

Horsehead Indus. v. Metallgesellschaft AG, 239 A.D.2d 171, 172 (1st Dep’t 1997) (citing

Warnaco, 844 F. Supp. at 946). Spark has shown such manifest intent with respect to the MIPA

and Earnout Agreements.

        Spark was undeniably involved in the drafting of the agreements that led to the

Dropdown transaction, including the Spark MIPA and the Omnibus Assignment and Assumption

Agreement. Spark (not Spark HoldCo) also is the entity that “assumed liabilities and earn out

obligations” with respect to Major Energy.69 Indeed, Spark (not Spark HoldCo) was the party

that calculated and made the Contingent Payments due to the Sellers under the MIPA and

Earnout Agreement.70        And it was Spark (not Spark HoldCo) that issued a press release

concerning the completion of the Dropdown and informed the public that it had “completed its

acquisition of the Major Energy Companies and expect[ed] the acquisition to be immediately

accretive to earnings.”

69  See PX-256 (Spark Energy, Inc. Q2 2016 Earnings Call Transcript) (“If we shift to Major Energy as
you know, that is a related-party transaction. . . . We are paying $40 million upfront . . . [a]nd then we’ve
also assumed liabilities and earn out obligations . . . .”).
70 See PX-623 (SPRK-NGE0043588-99) (revised 2016 earnout statement and memorandum from Gary
Lancaster sent by Nathan Kroeker, CEO of Spark); PX-450 (SPRK-NGE0021839-44) (March 29, 2018
letter attaching 2017 earnout statement on “Spark Energy” letterhead); PX-224 (MESELLERS_0013258-
63) (May 31, 2019 letter attaching 2018 earnout statement on “Spark Energy” letterhead).


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        Moreover, Spark is not only the parent of Spark HoldCo, but also its sole managing

member.71 As sole managing member, Spark had “full and complete charge of all affairs of

[Spark HoldCo],” exclusive control over the business activities and operations of Spark HoldCo,

and the right to make “all decisions regarding the business, activities and operations of [Spark

HoldCo].”72 Such facts are more than enough to establish a manifest intent by Spark to be

bound by the MIPA and Earnout Agreements (even if not a signatory).73

        B.      Defendants’ Methodological and Calculation Errors With Respect To The
                2016 Contingent Payment

        In connection with the transaction between the Sellers and NGE, the parties agreed to a

total indicative purchase price of $80 million, $35 million of which was to be paid in the form of

up to $20 million in Earnout Payments and up to $15 million in Cash Installments over a period

of 33 months (from April 2016 through December 2018) dependent upon Major Energy

achieving certain agreed-upon performance targets.74

        Specifically, in the Earnout Agreement the parties agreed to a Cash Installment cap of

$5,000,000 per year (2016 - 2018) and Earnout Payment caps of $5,454,545, $7,272,727, and

$7,272,727 for 2016, 2017, and 2018, respectively.75 Therefore, the Sellers total potential



71 See PX-251 (Second Amended and Restated LLC Agreement of Spark HoldCo) at § 6.1 (“SEI [Spark
Energy, Inc.] shall be the sole Managing Member of the [Spark HoldCo].”).
72 Id.
73 See, e.g., Silverberg v. SML Acquisition LLC, No. 15-CV-7129 (CS), 2017 WL 758520, at *6
(S.D.N.Y. Feb. 27, 2017) (finding manifestation of intent to be bound by PTP where SML was a “wholly-
owned, inactive subsidiary of PTP, which possessed full power to act on SML’s behalf, thus making PTP
a de facto party” to the agreement); SHLD, LLC v. Hall, No. 15 Civ. 6225 (LLS), 2016 WL 659109, at *8
(S.D.N.Y. Feb. 17, 2016) (finding parent company manifested an intent to be bound where the parent
company’s ownership and management—which was common with the subsidiary—used the parent entity
to negotiate a contract with the plaintiffs); TransformaCon, Inc. v. Vista Equity Partners, Inc., 2015 WL
4461769, at *5 (S.D.N.Y. July 21, 2015) (finding parent company manifested an intent to be bound where
plaintiff alleged that the subsidiary agreed to the contract under the parent’s “watch and control,” parent
company executives reviewed and approved it, and the parent would benefit from the contract).
74 PX-632 (SPRK-NGE0044751-821).
75 PX-634 (SPRK-NGE0044911-28).



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Contingent Payments were $10,454,545, $12,272,727, and $12,272,727 for 2016, 2017, and

2018, respectively, or total payments of $35,000,000.76 The parties also agreed that the Sellers

could achieve additional sums under the separate Executive Earnout Agreement depending on

the Adjusted EBITDA and Customer Account performance during 2016, 2017, and 2018.77

       With respect to the performance targets for the Contingent Payments, the parties agreed

to an Adjusted EBITDA performance target for 2016, 2017 and 2018 and a Customer Accounts

target for 2016, 2017 and 2018. The final agreed-upon Adjusted EBITDA targets were: (1)

$20,749,213 for 2016; (2) $25,003,343 for 2017; and (3) $27,831,052 for 2018. The final

agreed-upon Customer Account targets were: (1) 178,031 for 2016; (2) 209,909 for 2017; and

(3) 231,717 for 2018.78

       Defendants currently take the position that




       As demonstrated below, Defendants’ current position as to the 2016 Contingent Payment

amount is wrong in several respects. First, Defendants are employing a calculation methodology


76 See PX-634 (SPRK-NGE0044911-28); PX-632 (SPRK-NGE0044751-821).
77 PX-658 (SPRK-NGE0050581-97).
78 PX-634 (SPRK-NGE0044911-28).
79 PX-450 (SPRK-NGE0021830-44).
80 Id.
81 Id.



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and formula that is inconsistent with the calculation methodology and formula set forth in the

Earnout Agreement, particularly the calculation methodology and formula illustrated in Exhibit

B to the Earnout Agreement.           Notably, prior to the Dropdown, Defendants themselves

acknowledged that the formula illustrated in Exhibit B to the Earnout Agreement was the correct

formula to use in calculating the Contingent Payments. Second, Defendants are employing a

calculation methodology and formula that is even inconsistent with the calculation methodology

and formula they employed when they ultimately determined and paid the 2016 Contingent

Payment to the Sellers in April 2017, and months before the filing of this litigation. Third,

Defendants are understating Major Energy’s Year-End Customer Accounts total for 2016 by

approximately 9,134 customers.           Adjusting for these calculation errors results in an

underpayment to the Sellers for the 2016 Contingent Payment by more than $3.3 million.82

        Moreover, as demonstrated below, even if the Court were to accept Defendants’ proposed

Adjusted EBITDA and Year-End Customer Accounts totals for 2016, the Sellers have still been

underpaid for the 2016 Contingent Payment by at least $2.3 million (using the formula set forth

in Exhibit B to the Earnout Agreement) or by at least $2.1 million (using Defendants’ pre-

litigation formula). Thus, the Court can make a pre-judgment finding that Defendants breached

the MIPA and Earnout Agreement in the manner they calculated (or miscalculated), and

ultimately underpaid the Sellers for, the 2016 Contingent Payment.




82 As noted above, the Sellers also dispute Defendants’ Adjusted EBITDA total for 2016 and contend that
such total is understated by at least $1.8 million due to Defendants’ failure to credit Major Energy for
various expenses incurred in 2016, including expenses related to executive compensation and bonuses.
This additional calculation error results in an additional underpayment of approximately $1.4 million for
the 2016 Contingent Payment. However, Plaintiff is not seeking a pre-trial resolution of this additional
calculation error, but instead will address and establish this additional calculation error at trial.


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               1)      The Agreed-Upon Methodology And Formula For Calculating The
                       Contingent Payments As Set Forth In Exhibit B To The Earnout Agreement

       Section 2.2 of the MIPA and Earnout Agreement, and the illustration in Exhibit B of the

Earnout Agreement, sets forth the methodology for calculating the Contingent Payments,

including the up to $15 million in Cash Installment payments for 2016, 2017, and 2018 and the

up to $20 million in Earnout Payments for 2016, 2017, and 2018.83

       Specifically, under Section 2.2 (a) of the MIPA, annual Cash Installments of $5 million

were payable on or before March 31 of 2017, 2018, and 2019, and subject to two potential

reductions: (1) a proportional reduction if the Adjusted EBITDA Plan is not achieved in a given

Target Year and (2) a dollar-for-dollar reduction if the Adjusted EBITDA in a given Target Year

is less than $20 million.84

       With respect to the Earnout Payment, Section 2.2 of the Earnout Agreement provides that

the Earnout Payment shall be calculated by multiplying the Target Year’s Adjusted EBITDA

by the Earnout Percentage applicable to that year.85 The Earnout Percentages are defined in

the Earnout Agreement as approximately 27.27%, 36.36%, and 36.36% for 2016, 2017, and

2018, respectively, with each year representing the proportionate share of a consecutive 33-

month period of 9 months, 12 months, and 12 months, respectively.86 The Earnout Percentage

for 2016 of approximately 27.27% is equivalent to 9/33, or 9 months of the 33-month Earnout

Period, to account for the exclusion of the first quarter of 2016, while the Earnout Percentage for

2017 and 2018 is equivalent to 12/33, for a full 12 months of the Earnout Period.87




83 PX-632 (SPRK-NGE0044751-821); PX-634 (SPRK-NGE0044911-28).
84 PX-632 (SPRK-NGE0044751-821).
85 PX-634 (SPRK-NGE0044911-28).
86 Id.
87 Id.



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       In addition, if the Year-End Customer Accounts for any Target Year fell below the

agreed upon customer account numbers for such Target Year, then the Earnout amount would be

reduced by the difference between the projected Year-End Customer Accounts and the actual

Target Year-End Customer Accounts multiplied by the projected Adjusted EBITDA per

customer (the “Customer Account Adjustment” or “CAA”).88               The parties agreed that the

projected Adjusted EBITDA Per Customer was approximately $116.55, $119.35, and $120.11

for the Target Years 2016, 2017, and 2018, respectively.89

       To avoid any doubt as to how to calculate the Contingent Payments, the parties created an

Excel spreadsheet that illustrated Cash Installment and Earnout Payment amounts for 2016,

2017, and 2018, based on different levels of financial performance.90 This spreadsheet was a

collaborative effort between the Sellers, primarily Mark Wiederman, and NGE, primarily Gary

Lancaster and Dave Hennekes.91

       To this end, on March 11, 2016, at




88 Id. The Earnout Agreement defines “Year End Customer Accounts” as “the actual number of customer
accounts calculated as of the end of each Target Year. The actual number of customer accounts shall be
computed in a manner consistent with the procedures, practices, methodologies, and standards used by
[Major Energy] in calculating their customer accounts before the Closing.” Id.
89 Id. These figures are arrived at by dividing the Adjusted EBITDA Plan in any given year by the
Customer Account target in that same year.
90 PX-105 (MESELLERS_0004207-11).
91 See Wiederman Witness Statement (ECF No. 149) at ¶ 72; PX-105 (MESELLERS_0004207-11).
92 PX-736 (SPRK-NGE0040246-48).



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93 PX-584 (SPRK-NGE0040249-52).
94 PX-105 (MESELLERS_0004207-11).
95 Compare PX-584 (SPRK-NGE0040252) with PX-105 (MESELLERS_0004211).
96 PX-105 (MESELLERS_0004211).
97 Id.
98 Id.



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                                                               Exhibit B illustrates the Cash

Installment and Earnout Payment amount for 2016, 2017, and 2018 assuming Major Energy hits

the projected Adjusted EBITDA targets each year and misses the Adjusted EBITDA targets for

each year by 5%.99 Exhibit B-1 to the Executive Earnout Agreement also includes a calculation

to adjust for an Earnout Payment cap.100 For example, if Major Energy achieved its Earnout

target in any of the years during the Earnout Period, it would have exceeded the Earnout

Payment cap. The difference between the calculated Earnout “To Major” and Earnout Payment

Cap, if any, is used to calculate additional amounts payable to the Managers of Major Energy

under the Executive Earnout Agreement.101

       The following is a complete copy of Exhibit B and Exhibit B-1:




99 Compare PX-105 (MESELLERS_0004207-11) with PX-658 (SPRK-NGE0050581-97).
100 PX-658 (SPRK-NGE0050581-97).
101 Id.



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         In the top right corner of Exhibit B (and Exhibit B-1) it describes the calculation formula

for the Earnout Payment. It provides as follows:

         The Earnout payments payable to Major Shareholders are (i) multiplied by a
         fraction, the numerator of which is the actual Adjusted EBITDA and the
         denominator of which is the Adjusted EBITDA Plan Target (with no make-up
         option) and (ii) subject to a possible further reduction for any annual Customer
         Count shortfalls.102

Simply put, the Earnout Payments formula as depicted in the agreed-upon spreadsheet and

Exhibit B to the Earnout Agreement is as follows:


                                                        2016 Adjusted
                                  2016
    Earnout Payment                                       EBITDA                     2016 Earnout
                                 Adjusted
(Before Customer Account                                   (Actual)                   Percentage
                           =     EBITDA           X                        X
       Adjustment)                                                                 (approx. 27.27%)
                                   Plan
                                                        2016 Adjusted
                                                        EBITDA Plan

         Critically, only through the above formula can you recreate and achieve the Earnout

amounts identified in Exhibit B and Exhibit B-1 for 2016-2018. For example, in Exhibit B-1, it

states that “Assuming targets are hit exact for 2016,” meaning Adjusted EBITDA of $20,747,213

and Year-End Customer Accounts of 178,031, then the amount to Major Energy is $5,658,876

and the Earnout amount hits the cap of $5,454,545, and the different between the two is used to

calculate the additional Executive Earnout amount paid to the Managers of Major Energy.103


                                                         $20,749,213
        $5,658,876     =       $20,749,213    x                                x    27.27%
                                                         $20,749,213

         As noted above, Defendants currently take the position that the total Contingent Payment

owed to the Sellers for 2016 is




102   PX-658 (SPRK-NGE0050581-97).
103   PX-658 (SPRK-NGE0050581-97).


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                      For purposes of this Pre-Trial Memorandum, however, even if the Court were

to accept the 2016 totals for Adjusted EBITDA and Customer Accounts as claimed by

Defendants but calculate the 2016 Earnout Payment consistent with the methodology and

formula agreed to by the parties in the “FINAL OFFER” spreadsheet and incorporated into

Exhibit B to the Earnout Agreement (and Exhibit B-1 to the Executive Earnout Agreement), the

total 2016 Contingent Payment amount would be $7,474,007—$2,315,089 higher than the

amount claimed by Defendants.

          The following is a breakdown of how this higher 2016 Contingent Payment amount is

determined using the formula embedded in the agreed-upon spreadsheet and Exhibit B to the

Earnout Agreement.




104   PX-450 (SPRK-NGE0021830-44).
105   Id. Plaintiff disputes all of the foregoing amounts claimed by Defendants.


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       Simply put, the Sellers were underpaid for the 2016 Contingent Payment by at least

$2,315,089. And again, this is even if the Court assumes that the 2016 totals for Adjusted

EBITDA and Customer Accounts as determined by Defendants are correct. However, as will be

demonstrated below in Section III.B.5, infra, Defendants’ calculation of the Year End Customer

Accounts is not correct and, therefore, the underpayment amount is even larger.106

               2)      Defendants Acknowledged And Used The Contingent Payment Calculation
                       Methodology And Formula Set Forth In Exhibit B In Connection With
                       Their Dropdown

       Record evidence, including Defendants’ own internal documents, conclusively

establishes that the formula set forth in Exhibit B to the Earnout Agreement, as described above,

is the true and correct way to calculate the Contingent Payments. In fact, record evidence shows

that, in connection with the Dropdown, Spark understood the methodology and formula NGE

and the Sellers agreed to for purposes of calculating the Contingent Payment and it is consistent

with the formula illustrated in Exhibit B to the Earnout Agreement and above.

       Specifically, on or about April 6, 2016, NGE and Spark were discussing deal terms for

the Dropdown and were analyzing different Contingent Payment amounts assuming the Major

Energy performance targets agreed to between NGE and the Sellers were achieved per plan or

were 35% above or below plan. In performing this analysis, NGE and Spark used the interactive

model contained in the agreed-upon spreadsheet that eventually became Exhibit B to the Earnout

Agreement. Indeed, on April 6, 2016,


106And as will be demonstrated at trial, the 2016 underpayment is even larger when also factoring in
Defendants’ miscalculation of the actual 2016 Adjusted EBITDA amount.


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        Later, on May 17, 2016,




        Thus, these documents confirm that, at or around the time of closing, both NGE and

Spark understood that the proper way to calculate the Contingent Payments was the methodology

and formula illustrated in Exhibit B to the Earnout Agreement, the same position the Sellers are

advocating in this litigation and Pre-Trial Memorandum.




107 PX-641 (SPRK-NGE0045159-64).
108 PX-489 (SPRK-NGE0026371-73).
109 Id.
110 Id.
111 Lane Deposition Transcript at 32:6-33:10.



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               3)     The Contingent Payment Calculation Methodology And Formula Used By
                      Defendants When They Actually Paid The 2016 Contingent Payment To
                      The Sellers Prior To The Filing Of This Litigation

       In April 2017, several months before the filing of this litigation, Defendants’ paid the

Sellers a 2016 Contingent Payment in the amount of $7,403,198, not the $5,158,917 they are

claiming now as the correct 2016 Contingent Payment amount.112 In determining and paying the

2016 Contingent Payment to the Sellers, Defendants used a methodology and formula that was

different than the one used in the agreed-upon “FINAL OFFER” spreadsheet and Exhibit B to

the Earnout Agreement. This alone constituted a breach of the Earnout Agreement. But even

worse, one year after paying the 2016 Contingent Payment to the Sellers and several months

after the filing of this litigation, Defendants decided to recalculate the 2016 Contingent Payment

using a formula that was now inconsistent with both Exhibit B and the formula they used pre-

litigation and, without any prior warning or notice, unilaterally took back $2.2 million of the

2016 Contingent Payment they paid to the Sellers in April 2017.113

       Before addressing the many flaws with the Defendants’ new post-litigation methodology

and formula (see Section III.B.4, infra), Plaintiff will first address the methodology and formula

Defendants used pre-litigation and when they actually paid the 2016 Contingent Payment to the

Sellers in April 2017. Importantly, as will be explained below, even if the Court were to accept

Defendants’ pre-litigation formula as the correct formula (instead of using the formula illustrated

in Exhibit B to the Earnout Agreement) and even if it were to accept Defendants’ claimed 2016

totals for Adjusted EBITDA and Year-End Customer Accounts, Plaintiff and the Sellers still

have been underpaid for the 2016 Contingent Payment by more than $2.1 million.



112 PX-623 (SPRK-NGE0043588-99). Defendants in fact actually calculated and determined a higher
amount of $7,563,180, although they never paid that $160,033 difference.
113 PX-450 (SPRK-NGE0021839-44).



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      On March 24, 2017,




      A few days later, on March 27, 2017,




114 PX-483 (SPRK-NGE0025618-21).
115 Id.
116 Id.
117 PX-698 (SPRK-NGE0051749-51).
118 PX-698 (SPRK-NGE0051749-51).



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       On March 30, 2017,




       After wiring that sum to the Sellers, the Defendants apparently made a further internal

effort to understand the correct methodology for calculating the 2016 Contingent Payment. To

this end, sometime prior to April 11, 2017,




                                                                                      In other

words, Mr. Kroeker wanted to understand how Mr. Lancaster, who was the leading negotiator


119 Id.
120 Id.
121 PX-524 (SPRK-NGE0031481-85).
122 Id.
123 PX-623 (SPRK-NGE0043588-99) (emphasis added).
124 Id. (emphasis added).



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       The record is devoid of a single document showing that, during the parties’ negotiations,

Defendants ever informed the Sellers that



                             The record is also devoid of any documents showing that at any point

prior to the filing of this action in October 2017, or any time before March 2018, Defendants

claimed that it “overpaid” the Sellers with respect to the 2016 Contingent Payment or that Spark

demanded a return of any of the monies it wired to the Sellers for the 2016 Contingent Payment.

       Nonetheless, Defendants apparently now seek to avoid the



                                   by claiming that they merely reflect Defendants’ “settlement”

position at the time, not true belief.138 Such post-filing contention is irrational. Indeed, it strains

credulity to believe that Defendants paid $2.2 million they believed they were not contractually

obligated to pay even while the parties were continuing to dispute the total Adjusted EBITDA

figure for 2016. Also, if Defendants truly believed they had “overpaid” by $2.2 million then

why did they not seek to claw back such a large overpayment beginning in July 2017 and well

before the filing of this action, when it was clear that the parties were at a stalemate as to the

total 2016 Adjusted EBITDA amount.

       Additionally, Defendants’ post-filing position requires the Court to ignore the words used

by Mr. Lancaster in his memorandum and by Mr. Kroeker in his email. For example,




138Lancaster Witness Statement (ECF No. 159) ¶¶ 75, 77, 82-84; Kroeker Witness Statement (ECF No.
166) ¶¶ 254-58.


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        Thus, either way, whether the Court uses the formula in Exhibit B or the formula

Defendants themselves used pre-litigation, the Sellers have been underpaid for the 2016

Contingent Payment by either $2.1 million or $2.3 million, and likely larger when the Court also

corrects for Defendants’ use of an understated Year-End Customer Accounts total for 2016, as

addressed below in Section III.B.5, infra, and an understated Adjusted EBITDA total for 2016,

as will be addressed at trial.

                4)      Defendants New Post-Litigation Methodology And Formula For
                        Calculating The Contingent Payment Is Unfounded And Flawed

        In March 2018, almost one year after Spark’s payment of the 2016 Contingent Payment

and several months after the filing of this litigation, Spark reverted to its initial March 24, 2017

methodology for calculating the 2016 Contingent Payment and, without any advance notice or

warning, took back over $2.2 million it paid to the Sellers for the 2016 Contingent Payment.

Specifically, on March 29, 2018,




143 PX-450 (SPRK-NGE0021839-44).
144 Id.
145 Compare PX-450 (SPRK-NGE0021839-44) with PX-623 (SPRK-NGE0043588-99).



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         To further illustrate the flaw with Defendants’ position and proposed formula, it is

instructive to determine the amount of actual Adjusted EBITDA that would have to be generated

by Major Energy in the last 3 calendar quarters of 2016 in order for the Seller to achieve the

2016 Target Year Earnout Ceiling of $5,454,545. According to Defendants’ proposed formula,

Major Energy would have to achieve $20,000,000 in Adjusted EBITDA, more than 96% of its

Adjusted EBITDA Plan ($20,000,000/$20,749,213) for all of 2016, in just the last 3 quarters of

2016 in order to achieve the full Target Year Earnout Ceiling. This is obviously at odds with the

projections that formed the basis of the transaction as will be shown below.

         Moreover, in the first quarter of 2016 Major Energy had

                                   Therefore, in order to achieve the full Earnout Payment under

Defendants’ calculation, Major Energy would have had to achieve



                                                                               when it projected

approximately 232,000 Customer Accounts, or approximately 54,000 more Customer Accounts

than in 2016. It would be nonsensical to require Major Energy exceed its 2016 Adjusted

EBITDA Plan by almost $7 million for it to achieve the 2016 Earnout Ceiling.

         Defendants’ post-litigation method also implies that the 2016 Adjusted EBITDA target of

$20,749,213 was a 9-month amount. However, the documents in the record, including




147   PX-566 (SPRK-NGE0035202-05).
148   PX-377 (SPRK-NGE0003917-23) at SPRK-NGE0003922.


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       Also, Tom Holloway, Spark’s former Chief Accounting Officer, was asked at his

deposition in this matter the following:




       Based on testimony provided by Defendants in the written direct trial testimony of Mr.

Lancaster, Mr. Kroeker, and Mr. Holloway, it seems that Defendants will attempt to support their

illogical position by relying upon an email Mr. Lancaster sent to Dan Alper of Major Energy in

June 2016.154 In that email, to which Mr. Alper did not respond, Mr. Lancaster purportedly

depicted a Contingent Payment scenario using the formula now being argued by Defendants.155

Defendants’ reliance on this June 2016 email by Mr, Lancaster is misguided for multiple reasons.

       First, the formula used by Mr. Lancaster at that time is obviously incorrect given that, by

his own admission, the Sellers could never achieve the contemplated full Earnout Payment

amount of $5,454,545 for 2016, even if Major Energy hit the Adjusted EBITDA and Year-End

Customer Accounts targets for 2016. Specifically,




153 Holloway Deposition Transcript at 61:4-8.
154 PX-737 (MESELLERS_0001957-59).
155 Id.
156 Id.
157 PX-737 (MESELLERS_0001957-59); PX-105 (MESELLERS_0004207-11); PX-632 (SPRK-
NGE0044751-44821).


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         Second, Mr. Lancaster makes no mention



           If Mr. Lancaster truly believed that




                              Third, the record shows that Defendants did not use Mr. Lancaster’s

June 2016 formula and calculation methodology in calculating the Contingent Payment amount

for 2017 and 2018. Instead, Defendants used the formula and methodology depicted in Mr.

Lancaster’s April 2017 memo, as described above.159

         In sum, Defendants’ new post-litigation methodology and formula is contrary to Exhibit

B to the Earnout Agreement, contrary to Defendants’ pre-litigation formula, contrary to logic and

contrary to the underlying projections and other record evidence described above. Accordingly,

it should be rejected outright.

                5)      Defendants’ Also Underpaid The Sellers Due To Their Wrong 2016
                        Customer Accounts Total

        As described above, even if the Court accepts the 2016 Adjusted EBITDA and Customer

Accounts totals claimed by Defendants, the Court can conclude now and before trial that the

Sellers were underpaid by at least $2.3 million (if the formula in Exhibit B is used) or at least

$2.1 million (if Defendants’ pre-litigation formula is used). However, as demonstrated below,

the Court can also determine now and before trial an additional calculation error by Defendants

with respect to the 2016 Contingent Payment that would add an additional approximately $1



158   See PX-623 (SPRK-NGE0043588-99).
159   See PX-224 (MESELLERS_0013258-63).


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million in underpayment to the Sellers. This calculation error relates to Defendants’ use of a

Year End Customer Accounts total for 2016 that was understated by at least 9,182 customers.

      There is no dispute that the Year-End Customer Accounts target for 2016 was 178,031, and

the Adjusted EBITDA reduction per Customer Account below the target was $116.55.160 There

is no dispute that the term “Year End Customer Accounts” is defined in the Earnout Agreement:

       [T]he actual number of customer accounts calculated as of the end of each Target
       Year. The actual number of customer accounts shall be computed in a manner
       consistent with the procedures, practices, methodologies, and standards used by
       the Companies in calculating their customer accounts before the Closing.161

       Record evidence confirms that the customer life cycle at Major Energy includes four

stages based on the acceptance or termination of a customer’s electronic data interchange

(“EDI”).




       This approach to calculating Year End Customer Accounts is consistent with



                                                                        EMS was an IT system

Major Energy used to track Customer Accounts and other information.


160 PX-634 (SPRK-NGE0044911-28).
161 Id.
162 Leathers Witness Statement (ECF No. 155) ¶ 124; Sobel Witness Statement (ECF No. 152) ¶¶ 122-
23; Wiederman Witness Statement (ECF No. 149) ¶ 213.
163 See, e.g., PX-573 (SPRK‐NGE0037019); Wiederman Deposition Transcript at 343:6‐345:19; Sobel
Deposition Transcript at 133:2-135:6; 420:9-421:3.
164 PX-17 (CDP00003794-95).



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       C.       Defendants’ Methodological and Calculation Errors With Respect To The
                2017 And 2018 Contingent Payments

       Defendants also have breached the MIPA and Earnout Agreement due to their

miscalculation and underpayment of the 2017 and 2018 Contingent Payments.

       On March 29, 2018,




       On May 31, 2019,




176 PX-450   (SPRK-NGE0021839-44).


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        According to the documents provided by Defendants along with their 2017 and 2018

Contingent Payment statements, Defendants calculated the 2017 and 2018 Contingent Payments




        While Plaintiff and the other Sellers dispute at least the Adjusted EBITDA totals claimed

by Defendants for 2017 and 2018, and will address such dispute at trial,178 had Defendants

utilized the agreed-upon methodology and formula embedded in Exhibit B to the Earnout

Agreement, Major Energy’s Contingent Payment for 2017 and 2018 combined would be

$5,015,122, or $1,163,801 greater than the amounts paid to the Sellers for 2017 and 2018.179

The $1,163,801 greater amount results from the 2017 Earnout Payment which was $0 utilizing




177 PX-224    (MESELLERS_0013258-63).
178  Defendants have not produced the necessary documents, including Customer Accounts information
from the Major Energy’s EMS, for Plaintiff to ascertain whether the Year-End Customer Accounts totals
claimed by Defendants for 2017 and 2018 are correct or understated like for 2016.
179 At trial, Plaintiff will demonstrate that the underpayment for 2017 and 2018 combined is even greater
(i.e., $1,532,124) due to Defendants’ miscalculation of the Adjusted EBITDA totals for those years.


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the Defendants’ pre-litigation formula. A graphical representation of the 2017 Earnout Payment

(including Customer Account Adjustment) is as follows:




         Accordingly, Plaintiff submits that the Court should enter a judgment pre-trial that the

agreed-upon formula embedded in Exhibit B to the Earnout Agreement is the proper way to

calculate the Contingent Payments and even accepting Defendants’ proposed Adjusted EBITDA

and Year-End Customer Accounts totals for 2017 and 2018, the Sellers have been underpaid for

these years by at least $1,163,801, and possibly more depending on what Plaintiff establishes at

trial with respect to additional calculation errors by Defendants for 2017 and 2018.

         Plaintiff Is Entitled To Pre-Trial Judgment Awarding Him And The Sellers
         Reimbursement Of All Of The Reasonable Attorneys’ Fees And Expenses They
         Incurred In This Litigation And Statutory Prejudgment Interest

         Section 3.7 of the Earnout Agreement provides:

         The prevailing party in any action or proceeding arising out of or relating to this
         Agreement or instituted hereunder (including proceedings in any bankruptcy
         court) shall be entitled to recover from the other party all reasonable attorneys’
         fees incurred and all disbursements incurred by such prevailing party in
         connection with such action or proceeding. A party will be deemed the
         ‘prevailing party’ for purposes of this paragraph if, as shown in the resulting
         award, order or judgment, such party shall have established that it was
         underpaid by at least fifteen percent (15%).180

A plain reading of this provision indicates that if Plaintiff and the Sellers are able to establish

that the Contingent Payments they have received during the Earnout Period have been

“underpaid by at least fifteen percent,” they will be a “prevailing party” and, as such, are entitled

to recover from Defendants all of their reasonably incurred legal fees and expenses in this case.



180   PX-634 (SPRK-NGE0044911-28) at § 3.7 (emphases added).


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       To date, Spark has paid the Sellers a total of approximately $9 million in Contingent

Payments. Thus, pursuant to Section 3.7 of the MIPA, if Plaintiff and the Sellers are able to

establish that they have been underpaid by just $1.6 million ($9 million is 85% of $10.6 million),

they will be a “prevailing party” and entitled to recover fees and expenses they incur in

connection with this litigation.

       As demonstrated above, Plaintiff has already established that the Sellers have been

underpaid by more than 15%, i.e., more than $1.6 million. Indeed, just a few of the calculation

errors relating to the 2016 Contingent Payment, as described above, alone surpass the 15%

threshold. Thus, while Plaintiff will show at trial significantly more calculation errors with

respect to the 2016 Contingent Payment and the 2017 and 2018 Contingent Payments, as well as

the Sellers entitlement to the full $35 million Contingent Payment, the Court can now find that

there is sufficient underpayment for Plaintiff and the other Sellers to be entitled to

reimbursement of all their reasonable attorneys’ fees and expenses incurred in this litigation

under the express terms of Section 3.7 of the Earnout Agreement.181

       Additionally, Plaintiff and the Sellers are entitled to recover from Defendants statutory

prejudgment interest with respect to their successful breach of contract claims.          See N.Y.

C.P.L.R. § 5001(a) (2019) (“Interest shall be recovered upon a sum awarded because of a breach

of performance of a contract . . . .”); N.Y. C.P.L.R. § 5004 (2019) (providing that New York

prejudgment interest rate is 9% per annum); Days Inns Worldwide, Inc. v. Hosp. Corp. of the

Carolinas, No. 13-CV-8941 JPO, 2015 WL 5333847, at *1 (S.D.N.Y. Sept. 14, 2015) (Oetken,

J.). The amount of prejudgment interest is dependent on the determined date of breach and sum

awarded by the Court.


181 The specific amount of such reimbursed fees and costs can be determined later upon submission by
Plaintiff of the incurred attorneys’ fees and costs.


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                                        CONCLUSION

       Accordingly, for the foregoing reasons, the Court should grant pre-trial judgment as a

matter of law on: (i) Plaintiff’s claim against NGE for breach of Section 11.7 of the MIPA and

recovery of rescissory damages; (ii) Plaintiff’s claim against Spark for tortious interference of

contract in connection with NGE’s breach of Section 11.7 of the MIPA and recovery of

damages, including punitive damages; (iii) Plaintiff’s claim against NGE and Spark for breach of

Section 2.2 of the MIPA and Earnout Agreement and recovery of compensatory damages; and

(iv) Plaintiff’s right to reimbursement of all the reasonable attorneys’ fees and expenses incurred

in this litigation pursuant to Section 3.7 of the Earnout Agreement and to an award of statutory

pre-judgment interest.

Dated: January 13, 2020                              KING & SPALDING LLP
New York, New York


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